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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                    RICHMOND DIVISION

UNITED STATES OF AMERICA
                       Plaintiff


v.
                                                       CASE NO. 3:14CR081-003 (JRS)


COREY BEALE,
                       Defendant.



         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This matter is before the court pursuant to Title 28 U.S.C. §636(b)(1)(B) and (b)(3) upon
the Defendant's request to enter a pleaof guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into bythe United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the
Defendant's understanding that he consented to not only having the Magistrate Judge conduct the
hearing and enter any order offorfeiture, ifapplicable, but also to having the Magistrate Judge
make necessary findings and accepting any guilty plea as may be entered that could not be
withdrawn exceptfor fair andjust reason.

       The Court accepted the Defendant's waiver ofhis right to proceed by indictment after
specific inquiry was made ofthe Defendant as to his understanding ofthe right to require
prosecution by indictment. The Defendant pled guilty to Count Three ofthe Indictment in open
court and pursuant to a Rule 11 inquiry. Upon consideration ofthe responses and statements
made by the Defendant under oath, on the record, and based upon the written plea agreement and
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statement of facts presented, the court makes the following findings:

       1.      That the Defendant is competent to enter a plea of guilty;

       2.      That the Defendant understands the nature of the charge against him to which his

               plea is offered;

       3.      That the Defendant understands what the maximum possible penalties are upon

               conviction ofthe offense charged, including any mandatory minimum periods of

              confinement, the effect of any required term of supervised release, the loss of

              various civil rights (if applicable, including the right to vote, the right to hold

              public office, the right to own and possess a firearm), the possibility of adverse

              immigration consequences (ifapplicable), the required imposition ofa special

              assessment, forfeiture of real and/or personal property (if applicable), and

              restitution (if applicable);

       4.     That the sentencing court has jurisdiction and authority to impose any sentence

              within the statutory maximums provided, but that the court will determine the

              defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the

              court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a

              sentence above orbelow the advisory sentencing range, subject only to review by
              higher courts for reasonableness;

       5.     That the Defendant understands his right to persist ina plea ofnot guilty and
              require that the matter proceed to trial with all the rights and privileges attending a
              trial, including, but not limited to: the right to effective assistance ofcounsel; the
              right to use the power and processes ofthe court to compel the production of

              relevant evidence on the Defendant's behalf; the right to confront and cross-
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                examine adverse witnesses; the right to present relevant evidence; the right to

                remain silent; and the right to trial by jury;

        6.     That the Defendant understands thathe is waiving any right to appeal whatever

               sentence is imposed bypleading guilty, even if the sentence is erroneous, as long

               as said sentence does not exceed the total statutory penalties provided;

        7.     That the Defendant understands all provisions of the written plea agreement

               which was reviewed in essential part with the Defendant during the proceeding;

        8.     That the plea ofguilty entered by the Defendant was knowingly and voluntarily

               entered and is not the result of force or intimidation of anykind; noris it the result

               ofany promises other than the representations set forth inthe plea agreement; and

        9.     That the plea ofguilty entered by the Defendant was knowingly and voluntarily
               made with full knowledge ofthe consequences and with an independent basis in
               fact to support said plea.

       Accordingly, the court accepted the Defendant's pleaof guilty to Count Three of the

Indictment and entered judgment of guilt on the subject charge. It is therefore the

recommendation ofthis court that its findings, including the acceptance ofthe Defendant's plea
of guilt and resulting judgment of guilt, be adopted.

       Let the Clerk forward a copy of this report and recommendation to the Honorable James

R. Spencer and to counsel of record. It is so Ordered.

                                                                              /s/
                                                                 David J. Novak     ^
                                                                 United States Magistrate Judge

Dated: October 16,2014
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                                           NOTICE


       The Defendant is advised that he/she may file specific written objection to this
report and recommendation with the court within fourteen (14) days ofthis date. If
objection is noted, the party objecting must promptly arrange for the transcription ofthe
relevant record and file it forthwith with the court for its use in any review. Failure to
object in accordance with this notice, including the requirement for preparation ofa
transcription ofthe relevant portions ofthe record, will constitute awaiver ofany right to
de novo review ofthe matter and may result in adoption ofthe recommendation, including
the finding of guilt as entered by the magistrate judge.
